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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :    CRIMINAL NO. 21-cr-28-APM
                                                :
                      v.                        :
                                                :
 JASON DOLAN,                                   :
                                                :
                           Defendant.           :

               NOTICE OF MOTION FOR REVIEW OF RELEASE ORDER

       The United States respectfully informs the Court and Defendant Jason Dolan of the

government’s intention to file a motion for review of the release order entered earlier today by

Magistrate Judge William Matthewman of the U.S. District Court for the Southern District of

Florida, in case 9:21-mj-08212-BER-1.

       1.      On May 26, 2021, the grand jury indicted Defendant Dolan on counts of

Conspiracy, in violation of 18 U.S.C. § 371; Obstruction of an Official Proceeding and Aiding and

Abetting, in violation of 18 U.S.C. §§ 1512(c)(2), 2; Destruction of Government Property and

Aiding and Abetting, in violation of 18 U.S.C. §§ 1361, 2; and Restricted Building or Grounds

Access, in violation of 18 U.S.C. §§ 1752(a)(1). The same day, the Court issued a warrant for

Defendant Dolan’s arrest.

       2.      On May 27, 2021, the FBI arrested Defendant Dolan in the Southern District of

Florida.

       3.      On May 28, 2021, Defendant Dolan had his initial appearance before Magistrate

Judge Bruce E. Reinhart. On the government’s motion, Judge Reinhart ordered Defendant Dolan

detained during a short continuance, pursuant to 18 U.S.C. § 3142(f).


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       4.       On June 2, 2021, Judge Matthewman conducted a detention hearing for

approximately 1 hour and 47 minutes (according to the court’s online docket). FBI Special Agent

Justin Spence testified. The case was continued until the following day.

       5.       On June 3, 2021, Judge Matthewman conducted a detention hearing for

approximately 2 hours and 12 minutes (according to the court’s online docket). At the conclusion

of the hearing, Judge Matthewman denied the government’s motion for detention and ordered

Defendant Dolan released. On the government’s oral motion, Judge Matthewman stayed the

release order until June 4, 2021, at 4 p.m., to provide the government with time to decide whether

to pursue a review of the release order with this Court, pursuant to 18 U.S.C. § 3145(a)(1).

       6.       The government now provides notice that it intends to file such a motion.

       7.       Given the need to obtain and review transcripts of approximately four hearing

hours, the government submits it would be appropriate to file the motion for review in

approximately one week: by Friday, June 11, 2021. Section 3145(a) demands that, once filed, a

motion to review a release order “be determined promptly.”

       8.       Judge Matthewman indicated that, if the government provided notice of its

intention to file a motion with this Court pursuant to Section 3145(a)(1), he would further stay his

release order “for a reasonable time,” consistent with Southern District of Florida Local Criminal

Rule 4(a)(2).

       9.       Defendant Dolan’s counsel in the Southern District of Florida, Michael T. van der

Veen, Esq., informed Judge Matthewman that Mr. van der Veen intends to represent Defendant

Dolan in this Court. The government will provide notice of this filing to Mr. van der Veen.




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                      Respectfully submitted,

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                      ACTING UNITED STATES ATTORNEY


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